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                    UNITED STATES DISTRICT COURT FOR THE
                       SOUTHERN DISTRICT OF NEW YORK

GOVERNMENT OF THE UNITED               )
STATES VIRGIN ISLANDS                  )
                                       )
      Plaintiff,                       )
                                       )
V.                                     )          Case Number: 1:22-cv-10904-JSR
                                       )
JPMORGAN CHASE BANK, N.A.              )
                                       )
      Defendant/Third-Party Plaintiff. )
____________________________________)
                                       )
JPMORGAN CHASE BANK, N.A.              )
                                       )
      Third-Party Plaintiff,           )
                                       )
V.                                     )
                                       )
JAMES EDWARD STALEY                    )
                                       )
      Third-Party Defendant.           )
____________________________________)

            GOVERNMENT OF THE UNITED STATES VIRGIN ISLANDS’
               NOTICE OF MOTIONS FOR SUMMARY JUDGMENT

       PLEASE TAKE NOTICE that, pursuant to Section F of the Second Revised Civil Case

Management Plan (Dkt. 171), the Government of the United States Virgin Islands (“Government”)

intends to file two summary judgment motions: one with respect to the Government’s affirmative

claims and one with respect to certain of Defendant JPMorgan Chase Bank, N.A.’s affirmative

defenses.

       As set forth in the Court’s June 16, 2023 Minute Entry, the Government’s initial moving

papers are due by July 24, 2023; Defendant’s answering papers are due by August 7, 2023; and

the Government’s reply papers are due by August 14, 2023. Oral argument on these motions is

scheduled for 4:00 PM on August 18, 2023.
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Dated: July 14, 2023                ARIEL SMITH, ESQ.
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